            Case 4:12-cv-00242-KGB Document 1 Filed 04/23/12 Page 1 of 14

                                                                                                  FILED
                                                                                               U.S. DISTRICT COURT
                                                                                           EASTERN DISTRICT ARKANSAS

                       IN THE UNITED STATES DISTRICT COURT                                     APR 23 2012
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION
                                                                                    :;,MES w. McC3'F
                                                                                                               DEPCLERK
DEREK LIND
And other persons similarly situated                                                        PLAINTIFFS

v.                                             No.=      4 .'I z-- cv- 24 z           svwv
MEDICREDIT, INC.
a.k.a. MEDICREDIT CORPORATION
JOHN DOES 1 - 10                                                                           DEFENDANTS

                                             COMPLAINT

       Comes        now     Plaintiff,         by       and        through      the        undersigned

counsel, and for his complaint, stat!~~::;::~u:g~~.~~J~ah+,
                                   JURISDICTIONAL BASIS                                                . . . . . ·-~~

       1.      This       court    has       jurisdiction            pursuant         to     28    U.S.C.

§1331,       federal        question         jurisdiction,           and       28    U.S.C.        §1367,

supplemental jurisdiction, since all claims arise out of a common

nucleus of operative fact. Venue is proper in this Court as the

cause of action arose in the Eastern District of Arkansas.

       2.      At         all      times            material             to         this          action,

Defendant,                Medicredit,                Inc.            (a.k.a.               Medicredit

Corporation} [hereinafter                      referred             to     as       "Medicredit"]

was a       corporation,         authorized to do and doing business in the

Eastern District of Arkansas.

       3.      At     all       times    material         to       this       action,       Defendant,

Medicredit,           was a debt collector under the terms of the Fair

Debt     Collection             Practices       Act,          15    U.S.C.          §1692,        et    seq

(hereinafter          referred          to     as       the    "FDCPA")         and        engaged        in

collection activities in the State of Arkansas about which the


                                                    1
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Plaintiff complains and is a "debt collector" as the term is

defined by 15 U.S.C. §1692a{6).

                                    STATEMENT OF CLAIM

       4.      This is an action to recover damages suffered by the

Plaintiff and those similarly situated as a result of harassing

and abusive tactics employed by the Defendant, Medicredit,                                and

its agents in the collection of a debt.

                                              PARTIES

       5.      Plaintiff is a person of the full age of majority and

residents        of    the     Eastern        District      of   Arkansas   residing        in

Bryant, Arkansas.

       6.      At all times relevant to this complaint, the Defendant,

Medicredit,            Inc.    (a.k.a.         Medicredit        Corporation),       was    a

corporation            authorized        to     do    and   doing    business       in    the

Eastern        District        of Arkansas.              The Defendant employed John

Does   (1 - 10) on its behalf to carry out its objectives and as

such Defendant, Medicredi t,                    is responsible for the actions of

the John Does under the doctrine of respondeat superior.

                                               FACTS

       7.      Commencing on or about March 11,                     2011 and continuing

through at least March 26,                    2012,   the Defendant, by its various

agents, communicated with Plaintiff as a debt collector for the

University of Arkansas Medical Sciences (UAMS).

       8.       John    Does    1    -   10     (the "Collectors")      are   individual

collectors        employed          by   Defendant,         Medicredit,       and        whose



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identities are currently unknown to the Plaintiff.                              One or more

of the Collectors may be joined as parties once their identities

are disclosed through discovery.

        9.      The Defendant, Medicredit, alleges that monies are owed

by   the      Plaintiff       to   the   University      of    Arkansas         for    Medical

Sciences (DAMS).

        10.     The    debt    was   purchased,     assigned        or    transferred         to

Defendant, Medicredit, for collection or the Defendant Medicredit

was employed by DAMS to collect the debt.

        VIOLATIONS OF THE !'AIR DEBT COLLECTIONS PRACTICES ACT

        11.     The Defendants attempted to collect the debt,                          and,   as

such,        engaged    in    "communications"        as      defined      by    15     U.S.C.

§1692 (a) .

        12.     The Defendants contacted the Plaintiff to collect the

debt.

        13.     The    Defendants'       harassment        caused        the    Plaintiff's

telephone to ring,             hanging up before answer,             and/or leaving a

computer-voice message minus                the mini -Miranda            notice       require,

failing to identify the call as one coming from the collection

agency        (Medicredit      877-395-3125)       and     agents    of    the        Defendant

leaving a message without identifying themselves.

        14.     The    Defendant     failed   to    send      Plaintiff a        validation

notice stating the amount of the debt, in violation of 15 U.S.C.

§    1692g(a) (1).        Plaintiff       twice     requested        a     validation         by

certified mail with proper service to the Defendant being made.



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       Case 4:12-cv-00242-KGB Document 1 Filed 04/23/12 Page 4 of 14



(Exhibit      "A"}.    Plaintiff         disputed         the    debt;   but,    collection

efforts continued.

      15.     The Defendant failed to send the Plaintiff a validation

notice containing the name and address of the original creditor,

in violation of 15 U.S.C. §1692g(a(5).

      16.     The Defendants continued collection efforts even though

the   debt    had     not   been    validated,            in    violation   of   15     U.S.C.

§1692g (b).

                    VIOLATIONS OF TBE ARKANSAS STATE LAWS

      17.     The     plaintiff      re-alleges            all    allegations      made     in

paragraphs 1 - 16.

      18.     The     Defendants         violated          the     Arkansas      Fair     Debt

Collections         Practices      Act    and       the    Arkansas      Deceptive       Trade

Practices Act.


                                   PRAYER FOR RELIEF

      A. Actual damages pursuant to 15 U.S.C. § 1692k(a) (1)
         against the Defendants;

      B. Statutory damages of $ 1,00.00 per incident

            pursuant to 15 U.S.C. § 1692k(a) (2) (A) against

            the Defendants;

      C. Costs of litigant and reasonable attorney's fees

            pursuant to 15 U. S.C. § 1692k(a) (3) against the

            Defendants;

      D. Actual damages from the Defendants for all the damages

            including emotional distress suffered as a result of the


                                                4
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           intentional, reckless, and/or negligent FDCPA violations

           and intentional, reckless, and/or negligent invasions of

           privacy in an amount to be determined at trial for the

           Plaintiff,

     E. Punitive damages;

     F. Such other and further relief as may be just and

           proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS


WHEREFORE,     the        Plaintiff   prays     for   judgment   against       the

Defendants, jointly and severally, for violating the Federal Fair

Debt Collection's Practices Act;              attorney's fees;   post-judgment

interest; pre-judgment interest; and any other damages authorized

by this     court    or    authorized by any other      applicable     state    or

federal,     statutory       or   common-law.    Plaintiff   demands   judgment

against all Defendants for damages,             as well as all costs of this

action, and a trial by jury of all issues to be tried.


                                       Respectfully submitted,




                                       Willard Proctor, Jr., P.A.
                                       Attorney for Plaintiffs
                                       2100 Wolfe Street
                                       Little Rock, AR 72202-6258
                                       (501) 378-7720
                                       wproctorjr@aol.com
                                       Arkansas Bar No.: 87136



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EXHIBIT "A"




                                    6
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                                                                   b!it@




         PO Box 7206
         Columbia, Mo. 65205
                                                                                  9900    /SIGNATURE

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                                                                                          ~-   STA.fEMEI\iT DA'fE            Pi~YTHiSAMOUNT                        ACCT.#
0101                                                                                      ! March 11, 2011                       $102.30                     110661824
        PHONE; (877) 395-3125
                                                                                                                                     ~ SHOlJV tUViOUMT ~
                                                                                                                                     'PAiD HERE        ~


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       DEREK E LIND                                                                                     MEDJCRED!T INC.
       PO BOX 251188                                                                                    P.O. BOX 411187
       LITTLE ROCK, AR 72225-1188                                                                       ST. LOUIS, MO 63141-3187




                                                                                                                                                    9900•563007884002838


                                                                                  # of Accounts on file:                  1
                                                                                  Total Balance on file:                  $102.30
                                                                                  Primary Account #:                      110661824

        Creditor: UN4S -                    u~IV      OF ARK FOR              MEDIC~     SCIENCES

        Dear Mr./Ms. Lind

        The account(s} listed below have been added to our files for collection in full.
        Unless you notify this office within 30 days after rece~v~ng this notice that
        you dispute the validity of this debt or any portion thereof, this office will
        assume this debt is valid. If you notify this office in writing within 30
        days from receiving this notice that you dispute the validity of this debt or
        any portion thereof, this office will obtain verification of the debt or
        obtain a copy of a judgment and mail you a copy of such judgment or
        verification. If you request this office in writing within 30 days after
        receiving this notice, this office will provide you with the name and address
        of the original creditor, if different from the current creditor.
        CLIENT                                                      BALANCE DUE
        UAMS - 0NIV OF                  ARK     FOR. MEDICAL SCIENCES        102.30

        Th,is }et:ter :i.s an (ltte:mpt frqm a. debt collection agency to collect a debt and
        any information obtained will be used for that purpose.
        See Reverse For Important Information.


        FREE SERVICE: We can print your check for you - call for details.

        CASEY GREEN
        Debt Collector


        Office Hours: 8AM-9PM Monday - Thursday                                          8AM-7PM Friday               9AM-1PM Saturday

                                                                                                                                                    01




                                                                                                                                    1• • • • • • •1111!1!!1111!111111
         Case 4:12-cv-00242-KGB Document 1 Filed 04/23/12 Page 8 of 14




Derek lind
POB 251188
little Rock, AR 72225

March 21, 2011

Medicredit
POB 411187
St. Louis, MO 63141-3187

Re:110661824

  This letter shall serve as notice that I dispute the above referenced debt. In
accordance with the FDCPA, please do not contact me except as allowed by law
and only after evidence of the alleged debt is provided.




Derek Lind

Cert: 7010-3090-0000-0198-6174
                           Case 4:12-cv-00242-KGB Document 1 Filed 04/23/12 Page 9 of 14

                                                                                                    Derek Lind <delind@ualr.edu>
               U.S. Postal Service Track & Confirm email Restoration -7010 3090
               0000 0198 6174
               1 message

        U.S._Postai_Service_ <U.S._Postai_Service@usps.com>                                              24 December 2011 09:51
        To: delind@ualr.edu

         This is a post-only message. Please do not respond.

         The restoration information for Track & Confirm is listed below.

         Current Track & ConflllTl e-mail information provided by the U.S. Postal Service.

         Label Number: 7010 3090 0000 0198 6174

         Service Type: Certifted Maii(TM)

         Shiprrtent Activity         Location                             Date & Tirrte

         Delivered                SAINT LOUIS MO 63141                            03123111 8:36am

         Arrival at Unit          SAINT LOUIS MO 63141                            03/23/11 6:16am

         Acceptance                 LITTLE ROCK AR 72207                            03/21111 12:31pm

         --------------------------------------------------------------------------------
                   .                    '




         USPS h~s not verified the validity of any email addresses submitted via its online Track & Confirm tool.


         For more information, or if you have additional questions on Track & Confirm services and features, please
         visit the Frequently Asked Questions (FAQs) section of our Track & Confirm site at .




1 of1                                                                                                                   3/19/2012 7:06PM
                               Case 4:12-cv-00242-KGB Document 1 IF Filed   04/23/12
                                                                    PAYING BY MASTERCARD,Page    10 of 14
                                                                                         VISA OR AMERICAN EXPRESS                                         FILL OUT BELOW.

             PO BOX 7206                                                                  •      ~ASTERCARD
                                                                                         CARD NUMBER
                                                                                                                          rz~A                   •        ~ERICAN EXPRESS
             COLUMBIA, MO. 65205
                                                                                 9900    SIGNATURE                                                   IEXP.DATE

  ~                                                                                          STATEMENT DATE               PAY THIS AMOUNT                    ACCT.#

  ~                                                                                        December 18, 2011                 $1,780.22                   113480560
10567 0101   PHONE: (877) 395-3125
                                                                                                                                 I SHOW AMOUNT
                                                                                                                                   PAID HERE
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             DEREK E LIND                                                                              MEDICREDIT INC.
             PO BOX 251188                                                                             P.O. BOX 411187
             LITTLE ROCK, AR 72225-1188                                                                ST. LOUIS, MO 63141-3187



                                                                                                                                               9900*SDYOOC340001659



                                                                                  t of Accounts on file: 1
                                                                                  Total Balance on file: $1,780.22
                                                                                  Primary Account t:       113480560
                                                                                  Creditor t: 8474265-0300
                                                                                  Last Payment Date: 00/00/00

              Creditor: UAMS - UNIV OF ARK FOR MEDICAL SCIENCES

              Dear Mr./Ms. Lind

              The account(s) listed below have been added to our files for collection in full.

              Unless you notify this office within 30 days after recelVlng this notice that
              you dispute the validity of this debt or any portion thereof, this office will
              assume this debt is valid. If you notify this office in writing within 30
              days from receiving this notice that. you dispute the validity of this debt or
              any portion thereof, this office will obtain verification of the debt or
              obtain a copy of a judgment and mail you a copy of such judgment or
              verification. If you request this office in writing within 30 days after
              receiving this notice, this office will provide you with the name and address
              of the original creditor, if different from the current creditor.
              CLIENT                               BALANCE DUE
              UAMS- UNIV OF ARK FOR MEDICAL SCIENCES      1,780.22


              This letter is an attempt from a debt collection agency to collect a debt and
              any information obtained will be used for that purpose.
              See Reverse For Important Information.


               FREE SERVICE: We can print your check for you - call for details.

              CASEY GREEN
              Debt Collector


              Office Hours: 8AM-9PM Monday - Thursday                                   8AM-7PM Friday              9AM-1PM Saturday

                                                                                                                                               01




                                                                                                                                   , •...•...•..•.••..
          Case 4:12-cv-00242-KGB Document 1 Filed 04/23/12 Page 11 of 14




December 27,2011

Derek Lind
POB 251188
Little Rock, AR 72225


MediCredit
POB 7206
Columbia, MO 65205

Re: 113480560

       I dispute the above referenced debt in its entirety. A copy of your notice is enclosed.

      I require compliance with the FDCPA in providing proof of debt and do not contact me at
work-ever. Only contact me as allowed after FDCPA compliance.



Derek Lind

Certified Mail-Return Receipt - #70 I I- I 570-0002-4805-7589
                      Case 4:12-cv-00242-KGB Document 1 Filed 04/23/12 Page 12 of 14


                                                                                       Derek Und <delind@ualr.edu>
              U.S. Postal Service Track & Confirm email Restoration -70111570
              0002 4805 7589
              1 message

        U.S._Postai_Service_ <U.S._Postai_Service@usps.com>                                       20 March 2012 01 :23
        To: DELINO@ualr.edu

         This is a post-only message. Please do not respond.

         DEREK LIND has requested that you receiw this restoration information for Track & Confirm as listed
         below.

         Current Track & Confirm e-mail information provided by the U.S. Postal Service.

         Label Number: 70111570 0002 4805 7589

         Service Type: Certified Maii(TM)

         Shipment Activity     Location                      Date & Time

         Delivered           COLUMBIA MO 65205                      12/29/11 9:39am

         Acceptance            LIITLE ROCK AR 72205                   12/27111 11 :49am



         USPS has not verified the validity of any email addresses submitted via its onUne Track & Confirm tool.


         For more information, or if you have additional questions on Track & Confirm servfces and features, please
         visit the Frequently Asked Questions (FAQs) section of our Track & Confirm site at




1 ofl                                                                                                         3/25/2012 12:ll PM
Case 4:12-cv-00242-KGB Document 1 Filed 04/23/12 Page 13 of 14


                          • Complete Items 1, 2, and 3. Also complete
                            Item 4lf RestriCted Delivery Is desired.
                          • Prln' your name aod address on the reverse
                            so that we can return the card to you.
                          • Attach ~his card to the back of the mailpleoe,
                            or on ttia front if space permits;
                                                                                  D. IS delivery address dlffenll'lt from Item 1?
                          1. Article Acidi'essed to:                                 If YES, enter delivery address below:          0   No

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                          pc!J 7 z., o c;
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                                                                                                               C.O.D.
                                                                                                            (Extra Fee}             0 Yes
                          2. Article Numbe
                             rr;ansrer from
                          PS Form 3811, February 2004                Domestic Retum Receipt
 .     '   '   .                     Case 4:12-cv-00242-KGB Document 1 IF PAYING
                                                                          FiledBV04/23/12
                                                                                  MASTERCARD VISA OR AMERICAN EXPRESS, FlU OUT BELOW.
                                                                                             Page 14 of 14
                   PO BOX 7206
                   COLUMBIA, MO. 65205
                                                                                       9900    ~GNATI»m

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                                                                                                 March 10, 2012                                                113480560
10379 0101         PHONE: (877) 395-3125




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                   DEREK E LIND                                                                           MEDICREDIT INC.
                   PO BOX 251188                                                                          P.O. BOX 411187
                   LITTLE ROCK, AR 72225-1188                                                             ST. LOUIS, M063141-3187



                                                                                                                                                          9900*SGCOOZTVK001975

  1-
                                                                                        t of Accounts on file: 2
                                                                                        Total Balance on file: $2,126.29
                                                                                        Primary Account t:       113480560
                                                                                        Creditor t: 8474265-0300
                                                                                        Last Payment Date: 00/00/00
                    Creditor: UAMS - UNIV OF ARK FOR MEDICAL SCIENCES
                    Dear Mr./Ms. Lind

                    The account(s) listed below have been added to our files for collection in full.

                    Unless you notify this office within 30 days after receiving this notice that
                    you dispute the validity of this debt or any portion thereof, this office will
                    assume this debt is valid. If you notify this office in writing within 30
                    days from receiving this notice that you dispute the validity of this debt or
                    any portion thereof, this office will obtain verification of the debt or
                    obtain a copy of a judgment and mail you a copy of such judgment or
                    verification. If you request this office in writing within 30 days after
                    receiving this notice, this office will provide you with the name and address
                    of the original creditor, if different from the current creditor.

                        CLIENT                                     BALANCE DUE
                        UAMS- UNIV OF ARK FOR MEDICAL SCIENCES            1,780.22
               ___, ....JJ~S - UNI'\1_ OF _Al~!LFQR MEDICAL SCIENCES        346.07

                    This letter is an attempt from a debt collection agency to collect a debt and
                    any information obtained will be used for that purpose.
                    See Reverse For Important Information.


                    FREE SERVICE: We can print your check for you - call for details.

                    ROXY HART
                    Debt Collector

                    Office Hours: 8AM-9PM Monday - Thursday                                   8AM-7PM Friday           9AM-1PM Saturday

                                                                                                                                                          01


                                                                                                                                       .................
                                                                                                                                       ,
